                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE

BONGO PRODUCTIONS, LLC, ROBERT
BEINSTEIN, SANCTUARY PERFORMING
ARTS, LLC, and KYE SAYERS,

Plaintiffs,
                                                        CIVIL ACTION
v.                                                      CASE NO. 3:21-cv-00490
                                                        JUDGE TRAUGER
CARTER LAWRENCE, Tennessee State Fire
Marshal,      in     his      official      capacity,
CHRISTOPHER BAINBRIDGE, Director of
Codes Enforcement, in his official capacity,
GLENN R. FUNK, District Attorney General for
the 20th Judicial District, in his official capacity,
and NEAL PINKSTON, District Attorney
General for the 11th Judicial District, in his
official capacity,

Defendants.
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       DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
                          SUMMARY JUDGMENT


           Pursuant to Rule 56 of the Federal Rules of Civil Procedure Defendants Carter Lawrence,

    Christopher Bainbridge, Glenn R. Funk, and Neal Pinkston, in their official capacities only,

    hereby respond in opposition to Plaintiffs’ 1 Motion for Summary Judgment. (DE 35).

                                            BACKGROUND

          On March 29, 2021, and April 29, 2021, the General Assembly passed House Bill

1182/Senate Bill 1224 by overwhelming majorities in both Houses. Governor Lee signed House

Bill 1182 into law on May 17, 2021, as Public Chapter 453 (“the Act”). (Ex. A.) The Act furthers

the State’s interests in informing persons patronizing buildings open to the public of the building



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 Plaintiffs Kye Sayers and Sanctuary Performing Arts, LLC, are no longer participating in this
matter.
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      Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 1 of 18 PageID #: 848
operator’s bathroom policy should it deviate from any existing bathroom signage designating a

bathroom as available only to persons of a specific biological sex. Plaintiffs seek to enjoin the

enforcement of the entire Act, which took effect on July 1, 2021.

       A.      The Contested Statute.

       As pertinent here, the Act applies to all businesses and entities within the State that are

open to the public and, “as a matter of formal or informal policy, allow[] a member of either

biological sex to use any public restroom within the building or facility.” (Ex. A. Act, § 1(a).)

        “Public restroom,” as defined by the Act, includes restrooms, locker rooms, shower

facilities, dressing areas, and any similar facility that is “open to the general public,” “designated

for a specific biological sex,” and constitutes a “facility or area where a person would have a

reasonable expectation of privacy.” (Ex. A. Act, §§ 1(d)(2)(A)(i)-(iii).) However, the term

“[p]ublic restroom” does not include single-occupancy restrooms or family restrooms “intended

for use by either biological sex.” (Ex. A. Act § 1(d)(2)(B).)

       Business and entities that are subject to the Act must post signage that is easily visible to

people entering the restroom 2 and that informs the public that “THIS FACILITY MAINTAINS A

POLICY OF ALLOWING THE USE OF RESTROOMS BY EITHER BIOLOGICAL SEX,

REGARDLESS OF THE DESIGNATION ON THE RESTROOM.” (Ex. A. Act, § 1(b)(3).)

       In short, the Act requires that any entity with multi-user, sex-designated public restrooms—

and a policy of allowing all users to use either restroom, regardless of their biological sex—to post

signage reflecting that policy on or near the restroom entrances. Qualifying businesses and entities

that do not comply with the Act’s requirements must have received notice of their noncompliance




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  To that end, the Act also specifically describes the dimensions, coloring, and location of the
required signage. (Ex. A. Act, §§ 1(b)(1)-(5).)
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    Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 2 of 18 PageID #: 849
at least 30 days before any action is taken against them. (Ex. A. Act, § 1(c).)

       B.      Case History

       Plaintiffs—a Tennessee business and its owner filed a Complaint on June 25, 2021,

challenging the constitutionality of the Act. (See generally DE 1; DE 1, PageID# 1.) Plaintiffs

allege that they do not wish to post the signage required by the Act because they perceive that the

signage required—which mirrors their bathroom-usage policies—is controversial and

stigmatizing. (DE 1, PageID# 2.) They allege that by requiring them to post this signage, the Act

compels speech in violation of the First Amendment to the United States Constitution. (DE 1,

PageID# 18.)     Contemporaneously with the filing of their Complaint, Plaintiffs moved for a

preliminary injunction “enjoining enforcement of H.B. 1182/S.B. 1224, 112th Gen. Assemb., 1st

Reg. Sess. (Tenn. 2021).” (See generally DE 6.)

       Shortly thereafter, this Court granted Plaintiffs’ Motion for Preliminary Injunction and

enjoined Defendants from enforcing the Act. (DE 22; DE 23). On January 31, 2022, Plaintiffs

filed the instant Motion for Summary Judgment. (DE 35).

                                     LEGAL STANDARD

       “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a); see also Johnson v. Karnes, 398 F.3d 868, 873 (6th Cir. 2005). The moving party

must “show that the non-moving party has failed to establish an essential element of his case upon

which he would bear the ultimate burden of proof at trial.” Guarino v. Brookfield Twp. Trustees,

980 F.2d 399, 403 (6th Cir. 1992). After the movant makes a properly supported motion, the

burden shifts to the non-moving party to demonstrate the existence of material facts in dispute.

An opposing party may not simply rely on its pleadings; rather, it must “produce evidence that



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   Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 3 of 18 PageID #: 850
results in a conflict of material fact to be resolved by a jury.” Cox v. Ky. Dep’t of Transp., 53 F.3d

146, 150 (6th Cir. 1995). When the moving party has carried this burden, the nonmoving party

must set forth specific facts showing that there is a genuine issue for trial. Moldowan v. City of

Warren, 578 F.3d 351, 374 (6th Cir. 2009). In evaluating a motion for summary judgment, the

Court must draw all inferences in the light most favorable to the nonmoving party. Adickes v. S.H.

Kress & Co., 398 U.S. 144, 158-59 (1970); Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S.

133, 150 (2000). However, the existence of a mere scintilla of evidence in support of the

nonmoving party’s position will not be sufficient; there must be evidence on which the jury

reasonably could find for the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

251 (1986); Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587-88 (1986)

(finding reliance upon mere allegations, conjecture, or implausible inferences to be insufficient to

survive summary judgment); Copeland v. Machulis, 57 F.3d 476, 479 (6th Cir. 1995).

                                            ARGUMENT

        Here, summary judgment is inappropriate. As a threshold matter, this Court lacks subject

matter jurisdiction for two reasons: 1) Plaintiffs have failed to demonstrate standing because the

enforcement of the Act that gives rise to their alleged injury-in-fact is not imminent or even likely;

and 2) Plaintiffs’ First Amendment claim is not ripe as the effect of any potential enforcement is

uncertain. Further, even if subject matter jurisdiction were present, the Act satisfies constitutional

scrutiny. Plaintiffs’ Motion for Summary Judgment should therefore be denied.

I.      The Court Lacks Subject Matter Jurisdiction to Consider Plaintiffs’ Claims.

        A..     The Plaintiffs Lack Standing Because their Alleged Injury-in-Fact is not
                Imminent.

        Article III of the United States Constitution limits the jurisdiction of federal courts to cases

and controversies. U.S. Const. art. 3, § 2. The doctrine of standing is “an essential and unchanging

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     Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 4 of 18 PageID #: 851
part of the case-or-controversy requirement,” and defines the boundaries of jurisdiction under

Article III by “identifying those disputes which are appropriately resolved through the judicial

process.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). Thus, as a threshold matter, federal

courts are “under an independent obligation to examine their own jurisdiction, and standing is

perhaps the most important of the jurisdictional doctrines” that a plaintiff must satisfy. FW/PBS,

Inc. v. City of Dallas, 493 U.S. 215, 231 (1990) (internal quotations and citation omitted); see

Copas v. Lee, 396 F.Supp.3d 777, 786 (M.D. Tenn. 2019) (“Standing is a ‘threshold determinant[

] of the propriety of judicial intervention.’” (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)).

       In determining whether a plaintiff has standing, courts consider whether the plaintiff has

alleged “an ‘injury in fact’ that is ‘fairly traceable to the challenged action of the defendant’ and

is capable of being ‘redressed’ by the court.” McKay v. Federspiel, 823 F.3d 862, 867 (6th Cir.

2016) (quoting Lujan, 504 U.S. at 560-61). And the plaintiff bears the burden of establishing the

presence of all three elements. Id. To establish “injury-in-fact,” the plaintiff must show he

suffered a concrete injury that is “actual or imminent, not conjectural or hypothetical.” Lujan, 504

U.S. at 560.    Moreover, the injury alleged must be particularized to the plaintiff—“not a

generalized grievance.” Allen v. Wright, 468 U.S. 737, 751 (1984).

       Here, Plaintiffs challenge the Act under the First Amendment yet they do not allege that

the Defendants have actually enforced or will enforce any provisions of the Act against them. “In

a pre-enforcement challenge, whether the plaintiff has standing to sue often turns upon whether he

can demonstrate an ‘injury in fact’ before the state has actually commenced an enforcement

proceeding against him.” Kiser v. Reitz, 765 F.3d 601, 607 (6th Cir. 2014). Although Plaintiffs

are not required to subject themselves to actual arrest or prosecution as a prerequisite, pre-

enforcement challenges typically require “the threatened injury [to be] certainly impending or



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   Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 5 of 18 PageID #: 852
[that] there is a substantial risk that the harm will occur.” Susan B. Anthony List v. Driehaus, 573

U.S. 149, 158 (2014) (quoting Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414, n. 5 (2013)).

Specifically, the Supreme Court has permitted satisfaction of the “injury-in-fact” requirement in

the pre-enforcement context when plaintiffs allege “an intention to engage in a course of conduct

arguably affected with a constitutional interest, but proscribed by statute, and there exists a credible

threat of prosecution thereunder.” Babbitt v. Farm Workers, 442 U.S. 289, 298 (1979).

       Under the Act, “[i]f an entity or business is notified that it is not in compliance with this

section, the entity or business has thirty (30) days in which to comply before any action is taken

against the entity or business.” (Ex. A. Act, § 1(c).) Plaintiffs in this case do not want to display

the government-mandated warning notice required by the Act. (DE 1, PageID# 2.) But as

Plaintiffs have neither received a threat of enforcement nor a notice pursuant to the statute, there

mere existence of the statute alone does not amount to “a credible threat of prosecution” under the

Act.

       In McKay, the plaintiff brought a Section 1983 claim against public officials charged with

enforcing a state court’s administrative order prohibiting recording devices in the courtroom. 823

F.3d at 864-65. There, the plaintiff did not allege that he requested or was denied permission to

use a recording device, nor that he attempted to enter the courthouse with such a device. Instead,

he merely alleged that he did not wish to be subject to contempt, confiscation of a device, a fine,

or jail time pursuant to the order. Id. at 865-66. In holding that the plaintiff lacked standing, the

Sixth Circuit considered a series of factors that, in conjunction with a plaintiff’s allegation of a

subjective First Amendment chill, could establish injury-in-fact:

       (1) a history of past enforcement against the plaintiffs or others; (2) enforcement
       warning letters sent to the plaintiffs regarding their specific conduct; and/or (3) an
       attribute of the challenged statute that makes enforcement easier or more likely,
       such as a provision allowing any member of the public to initiate an enforcement

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   Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 6 of 18 PageID #: 853
       action…[and] a defendant’s refusal to disavow enforcement of the challenged
       statute against a particular plaintiff.

Id. at 869 (internal citations omitted). Indeed, courts considering credible threats of prosecution

in the context of a pre-enforcement First Amendment challenge consistently look to some

indication of a threat beyond the simple possibility of enforcement. Id; see also Kiser, 765 F.3d

at 609 (finding a credible threat where the plaintiff received two letters from the defendant warning

him that he was in violation of the regulation at issue); Susan B. Anthony List, 573 U.S. at 164

(2014) (noting that the plaintiff was previously prosecuted by the defendant for the same sort of

speech); Plunderbund Media, L.L.C v. DeWine, 753 Fed. App’x. 362, 366-72 (6th Cir. 2018)

(finding no credible threat where there was no history of enforcement against defendants or the

kind of speech at issue, nothing making the statute easier or more likely to enforce, and no evidence

of an intention to enforce).

       Here, Plaintiffs do not allege facts that satisfy any of the McKay factors, and therefore do

not allege a credible threat of prosecution. (See generally, DE 1.) Indeed, they do not allege

receipt of any warning letters, any attribute of the Act that would make enforcement easier or more

likely, 3 or that Defendants have refused to disavow enforcement against them. Just the opposite

is true: Defendant District Attorney General Funk has made public statements expressing his

intention to disavow enforcement of the Act in Davidson County, where Bongo’s business is

located. Kimberlee Kruesi, Nashville DA won’t enforce new bathroom sign law, Associated Press

(May      24,      2021),      https://apnews.com/article/nashville-laws-government-and-politics-

50412b91ca33cc45c426a9b5a89b1133 (Ex. B).




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  The Act’s 30-day notice requirement before Defendants could subject Plaintiffs to penalties
under the Act make its enforcement more difficult and less likely.


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    Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 7 of 18 PageID #: 854
          Moreover, the Act provides a 30-day cure period for businesses before any action can be

taken. (Ex. A. Act, § 1(c).) Yet Plaintiffs do not allege receipt of such notice. In other words,

despite Plaintiffs’ express desire not to comply with the Act, they cannot be subject to any action

for at least 30 days, starting from notice of noncompliance. Thus, because Plaintiffs fail to allege

a credible threat of prosecution under the Act, they fail to properly allege injury-in-fact and lack

standing to bring this claim.

          Lastly, because Plaintiffs do not allege enforcement of the challenged statute by

Defendants, there is no injury for the court to redress in this case. In California v. Texas, 593 U.S.

___, No. 19-840, 2021 WL 2459255 (June 17, 2021), the Supreme Court considered the standing

of several individual plaintiffs to challenge the Affordable Care Act’s minimum-coverage

requirement.     The Court held that those plaintiffs lacked standing because “no unlawful

Government action “fairly traceable” to [the challenged statute] caused the plaintiffs’… harm.”

Id. at *5. As the Court pointed out, it has consistently required plaintiffs “to assert an injury that

is the result of a statute's actual or threatened enforcement, whether today or in the future.” Id.

The Court further noted that issuing an injunction in a case where plaintiffs were not harmed by

actual or threatened injury would ultimately amount to “an advisory opinion without the possibility

of any judicial relief.” Id. at *6 (quoting Los Angeles v. Lyons, 461 U.S. 95, 129, (1983) (Marshall,

J., dissenting)); see also Carney v. Adams, 141 S. Ct. 493, 498 (2020) (Article III “require[s] that

a case embody a genuine, live dispute between adverse parties, thereby preventing the federal

courts from issuing advisory opinions”). Here, Plaintiffs simply cannot show a relationship

between the judicial relief requested and the “injury” they allege because they have not suffered

an injury. In effect, Plaintiffs are requesting an advisory opinion under the guise of injunctive

relief.



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    Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 8 of 18 PageID #: 855
        B.      Plaintiffs’ Claims are Not Ripe.

        Like the doctrine of standing, the ripeness doctrine is rooted in Article III limitations on

federal-court jurisdiction. However, ripeness distinctly aims at ensuring cases or controversies

filed in federal court are timely to help the court “avoid[]…premature adjudication.” Abbott Labs.

v. Gardner, 387 U.S. 136, 148-49 (1967). To show that the claim is ripe for review, a plaintiff

must allege more than some future acts or events that “may not occur as anticipated, or at all.”

Nat’l Rifle Ass’n of Am. v. Magaw, 132 F.3d 272, 284 (6th Cir. 1997).

        Determining whether a claim is ripe for review requires a court to consider both “the fitness

of the issue for judicial decision and the hardship to the parties of withholding court consideration.”

Abbott Labs, 387, U.S. at 149. Specifically, the Sixth Circuit considers three factors in determining

whether a claim is ripe: “(1) the likelihood that the harm alleged will ever come to pass; (2) whether

the factual record is sufficiently developed to allow for adjudication; and (3) hardship to the parties

if judicial review is denied.” Norton v. Ashcroft, 298 F.3d 547, 554 (6th Cir. 2002); see also

Ammex, Inc. v. Cox, 351 F.3d 697, 706 (6th Cir. 2003). In the context of a claim that relies on the

threat of injury, instead of an actual one, the standing and ripeness doctrines can be difficult to

distinguish. Airline Pros. Ass'n of Int’l Bhd. of Teamsters, Local Union No. 1224, AFL-CIO v.

Airborne, Inc., 332 F.3d 983, 988 (6th Cir. 2003). For example, “[a] threatened or imminent injury

may satisfy standing’s injury-in-fact requirement, yet the claim may still be unripe if the issues are

not fit for judicial review, perhaps because future events may greatly affect the outcome of the

litigation and the cost of waiting is not particularly severe.” Id.

        Here, as discussed above at I.A., Plaintiffs fail to allege an injury beyond potential future

events that may not occur as they expect or may not occur at all. Plaintiffs do not know that the

Act will be enforced against them, and even assuming it were enforced against them, they can



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   Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 9 of 18 PageID #: 856
predict neither how it would be enforced nor the effect of its enforcement. This case therefore

lacks the factual development necessary for this Court to properly adjudicate Plaintiffs’ claim.

         Thus, due to a lack of standing and ripeness that deprives this Court of subject matter

jurisdiction, summary judgment is inappropriate.

II.      The Act is Constitutional.

         Even if the Court finds that it possesses subject matter jurisdiction, the Court should decline

to grant summary judgment as the Act satisfies constitutional scrutiny.

         Plaintiffs raise only one claim challenging the constitutionality of the Act: that the Act

violates their First Amendment rights by compelling them, on pain of criminal penalty, to

communicate a misleading and controversial government-mandated message that they would not

otherwise display. (DE 1, PageID# 2.) Plaintiffs urge this Court to subject the Act to strict

scrutiny. Plaintiffs, though, have conceded that, as businesses open to the public, they are subject

to regulation, including regulations that require them to post certain signage. (DE 7, PageID# 51).

Plaintiffs also conceded that “notices [that] communicate purely factual and non-controversial

speech [] do[] not offend the First Amendment.” (DE 7, PageID# 51.)

         Plaintiffs’ prior concessions confirm that strict scrutiny is inappropriate. It is well settled,

of course, that a State may not “constitutionally require an individual to participate in the

dissemination of an ideological message by displaying it on his private property in a manner and

for the express purpose that it be observed and read by the public.” Wooley v. Maynard, 430 U.S.

705, 713 (1977).

         But while the State has “‘no power to restrict expression because of its message, its ideas,

its subject matter, or its content,’” “[u]nder the First Amendment,” it may still “regulate certain

aspects of speech.” Thomas v. Bright, 937 F.3d 721, 729 (6th Cir. 2019) (quoting Police Dep’t of



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      Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 10 of 18 PageID #: 857
City of Chi. v. Mosely, 408 U.S. 92, 95 (1972)). And when a statute does not regulate or compel

expressive or ideological speech, strict scrutiny is not the applicable constitutional test. Indeed,

the federal appellate courts have repeatedly declined to apply strict scrutiny to non-expressive,

non-ideological disclosure requirements in the face of First Amendment challenges. See, e.g.,

Zauderer v. Off. of Disciplinary Couns. of Sup. Ct. of Ohio, 471 U.S. 626, 651 (1985) (declining

to apply strict scrutiny to commercial speech); see also Nat’l Electric Mfrs. Ass’n v. Sorrell, 272

F.3d 104 (2d Cir. 2001) (upholding a labeling requirement containing purely factual and

uncontroversial speech); Conn. Bar Ass’n v. United States, 620 F.3d 81 (2d Cir. 2010) (subjecting

disclosure requirements to rational basis review); N. Y. State Rest. Ass’n v. N. Y. C. Bd. of Health,

556 F.3d 114 (2d Cir. 2009) (applying rational basis review to government mandated caloric

disclosure requirements); Scope Pictures, of Mo, Inc. v. City of Kan. City, 140 F.3d 1201 (8th Cir.

1998) (upholding a signage requirement regarding venereal disease where the signage conveyed

no political or ideological message); United States v. Sindel, 53 F.3d 874, 878 (8th Cir. 1995)

(“First Amendment protection against compelled speech. . . has only been found in the context of

governmental compulsion to disseminate a particular political or ideological message.”).

       The signage required by the Act is neither ideological nor expressive speech. Ideological

speech is speech which conveys a “point of view.” Wooley, 430 U.S. at 715. An accurate

statement of fact—such as the bathroom-usage policy chosen by Plaintiffs—does not communicate

an ideological or political message. See, e.g., Dutchess/Putnam Rest. & Tavern Ass’n, Inc. v.

Putnam Cnty. Dep’t of Health, 178 F.Supp.2d 396, 406 (S.D.N.Y. 2001) (holding that state-




                                                 11

   Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 11 of 18 PageID #: 858
mandated signs informing patrons of the risk of smoking did not constitute ideological speech and

therefore did not violate the First Amendment).

       Plaintiffs either misapprehend or have mischaracterized what the Act does. It does not

compel that a business adopt a particular bathroom policy. Nor does it require exclusion of

transgendered persons from the bathroom of their choice. Nor does it stigmatize businesses or

patrons. Instead, the law requires only one thing: if a business’s bathroom-use policy is different

from its existing bathroom signage, it needs to inform its patrons as such. (Ex. A. Act.). Plaintiffs

have imagined an idiosyncratic, hidden undertone to the signage that is not reflected in the Act’s

plain language. But Plaintiffs’ projections cannot transform a neutral statute requiring a simple

truthful statement of fact—aimed at informing the public without compelling the business or

entity’s ultimate choice of bathroom-usage policy—into expressive speech.

       Plaintiffs’ evidence in support of their idiosyncratic interpretation of the Act is a disputed

fact rendering summary judgment inappropriate. In their statement of undisputed material facts,

Plaintiffs assert that the term “biological sex” is a recent one without a uniform definition. Not so.

The phrase “biological sex” is a common phrase that is also used throughout scientific literature

and possesses a fixed and uniform definition. See Am. Psychiatric Assoc., The Diagnostic and

Statistical Manual of Mental Disorders, 15 (5th ed. 2013) (Ex. C); Riittakerttu Kaltiala-Heino et

al., Gender dysphoria in adolescence: current perspectives, ADOLESCENT HEALTH, MEDICINE AND

THERAPEUTICS 2018: 9, 21, 21 (2018) (Ex. D); L.A. Walter and A.J. McGregor, Sex- and Gender-

specific Observations and Implications for COVID-19, WEST J EMERG MED. 21(3): 507-509

(2020) (Ex. E); E.P. Scully et al., Considering how biological sex impacts immune responses and

COVID-19 outcomes, NAT REV IMMUNOL 20, 442-447 (2020) (Ex. F); S.L. Klein et al., Biological

sex impacts COVID-19 outcomes, PLOS PATHOG 16:6 (2020) (Ex. G). Further, “biological sex”



                                                  12

   Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 12 of 18 PageID #: 859
has the same meaning as the longstanding and broadly accepted definition of “sex.” See, e.g., Sex,

New Oxford American Dictionary (3d ed. 2010) (“either of the two main categories (male and

female) into which humans and many other living things are divided on the basis of their

reproductive functions”).

       Plaintiffs also argue that the term “biological sex” is stigmatizing and inherently

discriminatory. Again, not so. The term “biological sex” is a neutral term that conveys no stigma

or viewpoint. Nor is the term necessarily indicative of attempts to limit or eliminate the legal

recognition, protection, and rights of transgender people. See; Doe 2 v. Shanahan, 917 F.3d 694,

698 (D.C. Cir. 2019); Able v. United States, 88 F.3d 1280, 1286 (2d Cir. 1996); Grimm v.

Gloucester Cnty. Sch. Bd., 972 F.3d 586, 614 (4th Cir. 2020); Parents for Priv. v. Barr, 949 F.3d

1210, 1217 (9th Cir. 2020); Doe by and through Doe v. Boyertown Area Sch. Dist., 897 F.3d 518,

529 (3d Cir. 2018); Hively v. Ivy Tech Cmty. Coll. of Ind., 853 F.3d 339, 347 (7th Cir. 2017);

Cruzan v. Special Sch. Dist, No. 1, 294 F.3d 981, 983 (8th Cir. 2002); Jackson v. Valdez, ---

Fed.App’x ---, 2021 WL 1990788, at *5 (5th Cir. 2021); Etsitty v. Utah Transit Auth., 502 F.3d

1215, 1225 (10th Cir. 2007); E.E.O.C. v. R.G. & G.R. Harris Funeral Homes, Inc., 884 F.3d 560,

578 (6th Cir. 2018) (affirmed by Bostock v. Clayton Cnty., Ga., 140 S.Ct. 1731 (2020)); Doe v.

Hamilton Cnty. Bd. of Educ., 329 F.Supp.3d 543, 580 (E.D. Tenn. 2018); Farmer v. Brennan, 511

U.S. 825, 829 (1994); Bostock, 140 S.Ct. at 1752. The challenged Act speaks for itself, and like

the cited judicial opinions, uses the term “biological sex” objectively and neutrally. See also

Taylor Depo. at 79: 17-22 (“I think the intention of both of those terms [“biological sex” and “sex

assigned at birth”] is the same”.) (Attachment A).

       Plaintiffs’ preferred term “gender identity” is the newcomer. “Gender identity” is a term

popularized by Robert Stoller, a UCLA psychoanalyst. According to Stoller, “sex was biological



                                                13

  Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 13 of 18 PageID #: 860
but gender was social.” David Haig, The Inexorable Rise of Gender and the Decline of Sex: Social

Change in Academic Titles, 1945-2001, Archives of Sexual Behavior, Apr. 2004, at 93 (Ex. H).

The term “gender”—previously a grammatical term only—was itself introduced into scientific

discourse in the 1950s by John Money, a psychologist at Johns Hopkins University. Joanne

Meyerowitz, A History of “Gender,” 113 The American Historical Review 1346, 1354 (2008)

(Ex. I).   Research has not established “a strong biological basis” connecting transgender

individuals’ gender identity with the biological reality of how their bodies’ reproductive systems

are organized. Accordingly, many purported gender identities are unmoored from the male/female

binary. Cf. United States v. Varner, 948 F.3d 250, 256-57 (5th Cir. 2020). Thus, gender identity

plays no role in determining sex. See Bachtrog et al., Sex Determination, Why So Many Ways of

Doing It? PLoS Biol, 2014 Jul; 12(7) (Ex. J).

       Nor is their expert testimony on the alleged stigmatizing effect of the term “biological sex”

undisputed. See Taylor Depo. 108; 8-13; 109; 24-25; 110; 1-7 (Attachment A). Plaintiffs’ own

expert testified that the term “biological sex” does not, in her experience, worsen gender dysphoria.

Id. And Plaintiffs’ attempts to call the term “biological sex” into question using rare syndromes

likewise fails. Humans with disorders of sexual development still have a sex. For example,

humans with Klinefelter syndrome (47XXY) are still men, and humans with Turner syndrome

(45XO) are still women. Despite departures from the normal development expected for humans

with 46XY or 46XX chromosomes, those with Klinefelter syndrome still have a male reproductive

system while those with Turner system still have a female reproductive system. These two

chromosomal disorders occur in a small proportion of the population. See NIH, Klinefelter

Syndrome, Eunice Kennedy Shriver National Institute of Child Health and Human Development -




                                                 14

   Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 14 of 18 PageID #: 861
NICHD (nih.gov) (Ex. K); NIH, Turner Syndrome, Eunice Kennedy Shriver National Institute of

Child Health and Human Development - NICHD (nih.gov) (Ex. L).

       Nor do Plaintiffs demonstrate that the Act’s required language would be misleading or

untruthful. By the Act’s plain language, Plaintiffs need only post the required signage if they

agree with the language set forth by the Act—that “this facility maintains a policy of allowing the

use of restrooms by either biological sex, regardless of the designation on the restroom.” (Ex. A,

Act. § 1(a) & (b)(3) (capitalization omitted)).

       This distinction is critical. Because Plaintiffs need only comply with the Act if the signage

language matches their bathroom-usage policy, the Act can only compel speech that is necessarily

accurate. Accordingly, as the Act only requires the disclosure of accurate, non-ideological, and

non-expressive speech, strict scrutiny does not apply and the statute need only satisfy the

requirements of rational-basis review.

       Thus, because the Act does not require expressive or ideological speech, the deferential

standard of rational-basis review applies.        Under rational-basis review, a law is presumed

constitutional, and “[t]he burden is on the one attacking the legislative arrangement to negate every

conceivable basis which might support it.” Heller v. Doe, 509 U.S. 312, 320 (1993) (internal

quotations omitted); see also Walker v. Bain, 257 F.3d 660, 668 (6th Cir. 2001) (stating that a

statute is subject to a “strong presumption of validity” under rational-basis review and will be

upheld “if there is any reasonably conceivable state of facts that could provide a rational basis”).

       A court conducting a rational-basis review does not sit “as a super legislature to judge the

wisdom or desirability of legislative policy determinations” but asks only whether there is some

conceivable rational basis for the challenged statute. Heller, 509 U.S. at 319. This means that

under rational-basis review, it is “‘constitutionally irrelevant [what] reasoning in fact underlays


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   Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 15 of 18 PageID #: 862
the legislative decision.’” R.R. Ret. Bd. v. Fritz, 449 U.S. 166, 179 (1980) (quoting Flemming v.

Nestor, 363 U.S. 603, 612 (1960)).

       In enacting the informed-consent provision, the General Assembly and the citizens of

Tennessee had “absolutely no obligation to select the scheme” that a court might later conclude

was best. Nat’l R.R. Passenger Corp. v. A.T. & S.F.R. Co., 470 U.S. 451, 477 (1985); see

McGowan v. Maryland, 366 U.S. 420, 425-426 (1961) (“State legislatures are presumed to have

acted within their constitutional power despite the fact that in practice, their laws result in some

inequality.”). And Tennessee “has no obligation to produce evidence to sustain the rationality of

its action; its choice is presumptively valid and ‘may be based on rational speculation unsupported

by evidence or empirical data.’” TriHealth, Inc. v. Bd. of Comm’rs, 430 F.3d 783, 790 (6th Cir.

2005) (quoting FCC v. Beach Commc’ns, Inc., 508 U.S. 307, 315 (1993)).

       Here, the rational basis for the Act is readily apparent.       Tennessee certainly has a

compelling interest in ensuring that patrons are informed of the bathroom-use policy at businesses

they frequent—especially when the bathroom-usage policy differs in practice from the existing

bathroom signage used by business owners. Many Tennesseans would agree that being “forced to

share changing, shower, and bathroom space with members of the opposite sex” does not provide

the same “level of privacy and comfort that” a patron could “expect” in facilities separated based

on biological sex. Stuart v. Metro. Gov’t of Nashville & Davidson Cnty., 679 F. Supp. 2d 851,

854, 859 (M.D. Tenn. 2009) (Trauger, J.), vacated after settlement.

       And, although not required by rational-basis review, the statute is also narrowly tailored.

The Act simply ensures that Tennesseans are informed of a company’s policy before they enter a

locker room or bathroom. It does not require Plaintiffs to adopt any specific bathroom-usage

policy, nor does it blanketly prohibit patrons from using the bathroom contrary to their biological



                                                16

  Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 16 of 18 PageID #: 863
sex. And the Act does not prohibit Plaintiffs from posting additional signs expressing their

particular political or social views. Put another way, the law does allow Plaintiffs to permit any

individual to use whatever restroom they choose, and it does not require using only the restroom

that corresponds to biological sex. All that is required is that Plaintiffs inform their patrons of their

bathroom-usage policy in the event that Plaintiffs use bathroom signage inconsistent with their

chosen usage policy.

        As the Act does not require—or inhibit—expressive, untruthful, or ideological speech, it

easily satisfies the applicable constitutional standard.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs’ Motion for Summary Judgment should be denied.

                                                Respectfully submitted,

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                                                   17

   Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 17 of 18 PageID #: 864
                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was filed and served
electronically upon the following on this 2nd day of March, 2022:

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                                            18

  Case 3:21-cv-00490 Document 39 Filed 03/02/22 Page 18 of 18 PageID #: 865
